Case 8:12-cr-00094-JSM-AAS Document 85 Filed 11/01/12 Page 1 of 6 PageID 158
Case 8:12-cr-00094-JSM-AAS Document 85 Filed 11/01/12 Page 2 of 6 PageID 159
Case 8:12-cr-00094-JSM-AAS Document 85 Filed 11/01/12 Page 3 of 6 PageID 160
Case 8:12-cr-00094-JSM-AAS Document 85 Filed 11/01/12 Page 4 of 6 PageID 161
Case 8:12-cr-00094-JSM-AAS Document 85 Filed 11/01/12 Page 5 of 6 PageID 162
Case 8:12-cr-00094-JSM-AAS Document 85 Filed 11/01/12 Page 6 of 6 PageID 163
